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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 MARINO KAIN, WAYNE KERRIS, PERRY                        Case No.:
 RUSSELL, Derivatively On Behalf Of
 NEOGENOMICS, INC.,
                                                         VERIFIED SHAREHOLDER
                          Plaintiffs,                    DERIVATIVE COMPLAINT

         vs.
                                                         JURY DEMANDED
 LYNN TETRAULT, ALISON HANNAH,
 BRUCE CROWTHER, MICHAEL KELLY,
 STEPHEN KANOVSKY, DAVID PEREZ,
 RACHEL STAHLER, DOUGLAS VANOORT,
 MARK MALLON, KATHRYN MCKENZIE,
 AND WILLIAM BONELLO,

       -and-

                          Defendants,

       -and

 NEOGENOMICS, INC.,

                          Nominal Defendant.



       Plaintiffs Marino Kain, Wayne Kerris and Perry Russell (“Plaintiffs”), by and through their

undersigned counsel, derivatively on behalf of Nominal Defendant NeoGenomics, Inc.

(“NeoGenomics” or the “Company”), submit this Verified Shareholder Derivative Complaint (the

“Complaint”). Plaintiffs’ allegations are based upon their personal knowledge as to themselves

and their own acts, and upon information and belief, developed from the investigation and analysis

by Plaintiffs’ counsel, including a review of publicly available information, including filings by

NeoGenomics with the U.S. Securities and Exchange Commission (“SEC”), press releases, news

reports, analyst reports, investor conference transcripts, publicly available filings in lawsuits, and
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matters of public record. Plaintiffs believe that substantial evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

                                 NATURE OF THE ACTTION

       1.      This is a shareholder derivative action that seeks to remedy wrongdoing committed

by NeoGenomics directors and officers from February 27, 2020 to the present (the “Relevant

Period”).

       2.      On May 8, 2023, Plaintiffs made a demand (the “Demand”) on the Board of

Directors (the “Board”) to commence a civil action against each responsible entity and affiliate of

the Company – naming each of the Individual Defendants (defined below) – to recover, for the

benefit of the Company, the damage caused to it. Attached hereto as Exhibit A, respectively, is a

true and correct copy of the Demand.

       3.      Following this, on May 26, 2023, counsel for the Board assured Plaintiffs that a

response would be “forthcoming in the near term.” Attached hereto as Exhibit B is a true and

correct copy of counsel for the Board’s response.

       4.      However, to date, no such response has been received. Accordingly, Plaintiffs’

counsel sent several follow-up communications to counsel for the Board and are yet to receive any

substantive response to the Demand. Thus, the Board’s inaction here constitutes a refusal of

Plaintiffs’ Demand.

       5.      The Board’s refusal to commence a civil action for an undetermined amount of

time, if at all, is an improper and wrongful refusal of the Demand. Thus, Plaintiffs rightfully bring

this action in the right and for the benefit of the Company to recover for the damages caused to the

Company by the Individual Defendants. As such, this derivative action should be permitted to

proceed.




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                                 JURISDICTION AND VENUE

       6.      The claims asserted herein arise under §10(b) of the Securities Exchange Act of

1934 (the “Exchange Act”), 15 U.S.C. §§78j(b), and SEC Rule 10b-5, 17 C.F.R. §§ 240.10b-5,

promulgated thereunder. This Court has jurisdiction over the subject matter of this action under

§27 of the Exchange Act, 15 U.S.C. §78aa, and 28 U.S.C. §1331 because this is a civil action

arising under the laws of the United States of America.

       7.      This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. § 1367(a).

       8.      This action is not a collusive action designed to confer jurisdiction on a court of the

United States that it would not otherwise have.

       9.      In connection with the acts, conduct and other wrongs complained of herein, the

Individual Defendants (defined below), directly or indirectly, used the means and instrumentalities

of interstate commerce, the United States mail, and the facilities of a national securities market.

       10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial portion of the transactions and wrongs complained of herein occurred in this District,

the Individual Defendants (defined below) have conducted business in this District, and the

Individual Defendants’ actions have had an effect in this District.

                                             PARTIES

Plaintiffs

       11.     Plaintiffs acquired the Company securities and will continue to hold the Company

shares throughout the pendency of this action. Plaintiffs will fairly and adequately represent the

interests of the shareholders in enforcing the rights of the corporation.

Nominal Defendant




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       12.    Nominal Defendant NeoGenomics is a Nevada Corporation, with its principle

executive offices located at 9490 NeoGenomics Way, Fort Myers, FL 33912.

Director Defendants

       13.    Defendant Lynn Tetrault (“Tetrault”) is the Company’s current Executive Chair of

the Board and has served in that capacity since March 28, 2022.

       14.    Defendant Alison Hannah (“Hannah”) has served as a Company director since

June 2015. She also serves as a member of the Compliance Committee and Nominating and

Corporate Governance Committee.

       15.    Defendant Bruce Crowther (“Crowther”) has served as a Company director since

October 2014. He also serves as a member of the Audit and Finance Committee.

       16.    Defendant Michael Kelly (“Kelly”) has served as a Company director since July

2020. He also serves as the Chair of the Audit and Finance Committee.

       17.    Defendant Stephen Kanovsky (“Kanovsky”) has served as a Company director

since July 2017. He also serves as a member of the Compliance Committee, and the Nominating

and Corporate Governance Committee.

       18.    Defendant David Perez (“Perez”) is a member of the Board. Defendant Perez is

also a member of the Audit and Finance Committee.

       19.    Defendant Rachel Stahler (“Stahler”) has served as a Company director since May

2020. Defendant Stahler also serves as a member of the Audit and Finance Committee.

       20.    Defendants Tetrault, Hannah, Crowther, Kanovsky, Kelly, Perez and Stahler are

sometimes referred to hereinafter as the “Director Defendants.”

Prior Board Member

       21.    Defendant Douglas VanOort (“VanOort”) served as the Company’s CEO until




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April 19, 2021, at which time he transitioned to become the Executive Chair of the Board of

Directors of the Company. On October 12, 2021, the Company announced that Defendant

VanOort would be stepping down as Executive Chair and would retire as a member of the Board

before the end of the year.

Executive Officers

       22.     Defendant Mark Mallon (“Mallon”) served as the Company’s CEO from April 19,

2021 to March 28, 2022.

       23.     Defendant Kathryn McKenzie (“McKenzie”) served as the Company’s CFO until

December 31, 2021.

       24.     Defendant William Bonello (“Bonello”) is the Company’s current CFO and has

served in that capacity since January 1, 2022. Previously, Defendant Bonello served as President

of the Company’s Informatics Division.

       25.     The Director Defendants along with Defendants VanOort, Mallon, McKenzie and

Bonello are herein referred to as the “Individual Defendants”.

                     THE COMPANY’S CORPORATE GOVERNANCE

       26.     As members of Board were held to the highest standards of honesty and integrity

and charged with overseeing the Company’s business practices and policies and assuring the

integrity of its financial and business records.

       27.     The conduct of the Individual Defendants complained of herein involves a knowing

and culpable violation of their obligations as directors and officers of NeoGenomics, the absence

of good faith on their part, and a reckless disregard for their duties to the Company and its investors

that the Individual Defendants were aware posed a risk of serious injury to the Company.

                       DUTIES OF THE INDIVIDUAL DEFENDANTS




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       28.     By reason of their positions as officers, directors, and/or fiduciaries of

NeoGenomics and because of their ability to control the business and corporate affairs of

NeoGenomics, the Individual Defendants owed the Company and its shareholders the fiduciary

obligations of trust, loyalty, good faith and due care, and were and are required to use their utmost

ability to control and manage NeoGenomics in a fair, just, honest, and equitable manner. The

Individual Defendants were and are required to act in furtherance of the best interests of

NeoGenomics and its shareholders.

       29.     Each director and officer of the Company owes to NeoGenomics and its

shareholders the fiduciary duty to exercise good faith and diligence in the administration of the

affairs of the Company and in the use and preservation of its property and assets, as well as the

highest obligations of fair dealing. In addition, as officers and/or directors of a publicly held

company, the Individual Defendants had a duty to promptly disseminate accurate and truthful

information regarding the Company’s operations, finances, financial condition, and present and

future business prospects so that the market price of the Company’s stock would be based on

truthful and accurate information.

       30.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of NeoGenomics, were able to and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein, as well as the contents of the various public

statements issued by the Company.        Because of their advisory, executive, managerial and

directorial positions with NeoGenomics, each of the Defendants had access to adverse non-public

information about the financial condition, operations, sales and marketing practices, and improper

representations of NeoGenomics.

       31.     To discharge their duties, the officers and directors of NeoGenomics were required




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to exercise reasonable and prudent supervision over the management, policies, practices, and

controls of the financial affairs of the Company. By virtue of such duties, the officers and directors

of NeoGenomics were required to, among other things:

               (a)     Ensure that the Company complied with its legal obligations and

       requirements, including acting only within the scope of its legal authority and

       disseminating truthful and accurate statements to the SEC and the investing public;

               (b)     Conduct the affairs of the Company in an efficient, businesslike manner so

       as to make it possible to provide the highest quality performance of its business, to avoid

       wasting the Company’s assets, and to maximize the value of the Company’s stock;

               (c)     Properly and accurately guide investors and analysts as to the true financial

       condition of the Company at any given time, including making accurate statements about

       the Company’s business prospects, and ensuring that the Company maintained an adequate

       system of financial controls such that the Company’s financial reporting would be true and

       accurate at all times;

               (d)     Remain informed as to how NeoGenomics conducted its operations, and,

       upon receipt of notice or information of imprudent or unsound conditions or practices,

       make reasonable inquiries in connection therewith, take steps to correct such conditions or

       practices, and make such disclosures as necessary to comply with federal and state

       securities laws;

               (e)     Ensure that the Company was operated in a diligent, honest, and prudent

       manner in compliance with all applicable federal, state and local laws, and rules and

       regulations; and

               (f)     Ensure that all decisions were the product of independent business judgment




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        and not the result of outside influences or entrenchment motives.

        32.     Each Individual Defendant, by virtue of his or her position as a director and/or

officer, owed to the Company and to its shareholders the fiduciary duties of loyalty, good faith,

and the exercise of due care and diligence in the management and administration of the affairs of

the Company, as well as in the use and preservation of its property and assets. The conduct of the

Individual Defendants complained of herein involves a knowing and culpable violation of their

obligations as directors and officers of NeoGenomics, the absence of good faith on their part, and

a reckless disregard for their duties to the Company and its shareholders that the Individual

Defendants were aware or should have been aware posed a risk of serious injury to the Company.

        33.     The Individual Defendants breached their duties of loyalty and good faith by

causing the Company to misrepresent the information as detailed infra.             The Individual

Defendants’ subjected the Company to the costs of defending, and the potential liability from, the

securities class action entitled Goldenberg v. NeoGenomics, Inc., et al., Case 1:22-cv-10314

(S.D.N.Y.) (“Securities Class Action”).      As a result, NeoGenomics has expended, and will

continue to expend, significant sums of money.

        34.     The Individual Defendants’ actions have irreparably damaged NeoGenomics’s

corporate image and goodwill.

                                    THE AUDIT COMMITTEE

        35.     The principal responsibilities of the Audit Committee are to assist the Board in

fulfilling its oversight responsibilities.

        36.     The Audit Committee Charter provides that its members shall:

        The Audit Committee (the “Committee”) shall provide assistance to the Board of
        Directors (“Board”) of NeoGenomics, Inc., a Nevada corporation (the
        “Corporation”), in fulfilling its responsibilities with respect to its oversight of:




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       (i)     The quality and integrity of the Corporatio’s financial statements;
       (ii)    The Corporation's compliance with legal and regulatory requirements;
       (iii)   The Corporation’s enterprise risks, including but not limited to risks relating
               to the Corporation’s information technology use and protection, data
               governance, privacy, and cybersecurity, and the Corporation’s strategy to
               mitigate such risks;
       (iv)    The independent auditor's qualifications and independence;
       (v)     The performance of the Corporation's internal audit function and
               independent auditors; and
       (vi)    Working in coordination with the Compliance Committee of the Board of
               Directors, the implementation and effectiveness of the Corporation's ethics
               and compliance program.

Background

       37.     The Company operates a network of cancer testing laboratories in the United States,

Europe and Asia. The Company operates two business segments: (i) the Clinical Services Segment

provides testing, interpretation, and consultative services to community-based pathology practices,

hospital pathology labs, reference labs, and academic centers and (ii) the NeoGenomics’s Pharma

Services Segment supports pharmaceutical firms in their drug development programs by

supporting their clinical trials and research through working with the pharmaceutical firms on

study design as well as performing required testing. In 2021, the Clinical Services Segment

accounted for 83% of the Company’s revenue, while the Pharma Services Segment accounted for

17% of the Company’s revenue.

       38.     The Company offers a variety of cancer tests, including tests utilizing NGS

technology. NGS allows clinicians to test multiple genes of a cancer simultaneously on material

extracted from a single biopsy or sample of a patient’s blood. NGS tests have grown in popularity

in recent years among pathologists because they are typically more cost effective and efficient than

legacy tests, which are typically focused on looking for one single genetic mutation and, often

require pathologists to order several individual tests to look for multiple genetic mutations.




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                     THE FALSE AND MISLEADING STATEMENTS

       39.     On February 27, 2020, the Company announced its fourth-quarter and full-year

2019 financial results and held a conference call to discuss the results (the “4Q19 Earnings Call”).

During the 4Q19 Earnings Call, Defendant VanOort stated: “we have really restructured in some

respects our NGS panels, and we think they are very, very high-quality panels. We continue to

make improvements in them in terms of the number of genes and in our reporting capabilities, and

the marketplace is reacting very favorably to that. So our next-generation sequencing panels in

the clinical business should continue to fuel growth.”

       40.     On February 28, 2020, the Company filed its annual report for 2019 on Form 10-K

with the SEC (the “2019 Form 10-K”). The 2019 Form 10-K contained the following statement

touting the Company’s testing capabilities:

       NGS panels are one of our fastest growing testing areas and clients can often
       receive a significant amount of biomarker information from very limited samples.
       These comprehensive panels can allow for faster treatment decisions for patients as
       compared to a series of single-gene molecular tests being ordered sequentially.
       NeoGenomics has one of the broadest Molecular menus in the industry and our
       targeted NeoTYPE panels include genes relevant to a particular cancer type, as well
       as other complementary tests such as immunohistochemistry and FISH. This
       comprehensive menu means that NeoGenomics can be a one-stop-shop for our
       clients who can get all of their oncology testing needs satisfied by our laboratory.
       This is attractive to our clients as patient samples do not need to be split and then
       managed across several laboratories. NeoGenomics expects our Molecular
       laboratory and NGS capabilities to be a key growth driver in the coming years.

       41.     In the 2019 Form 10-K, the Company further represented that its “Competitive

Strengths” included testing “Turnaround Times” and “Innovative Service Offerings.” Regarding

turnaround times, the Company stated: “Our consistent timeliness of results by our Clinical

Services segment is a competitive strength and a driver of additional testing requests by referring

physicians. Rapid turnaround times allow for the performance of other adjunctive tests within an

acceptable diagnosis window in order to augment or confirm results and more fully inform



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treatment options.” Regarding its service offerings, the Company stated: “Our [testing] menu

enables us to be a true one-stop-shop for our clients as we can meet all of their oncology testing

needs .”

       42.     Additionally, in the 2019 Form 10-K, the Company touted its efforts to comply with

relevant government regulations and listed failure to comply with such regulations as a risk,

without discussing the ongoing violations, stating:

       The health care industry is highly regulated and scrutinized with respect to fraud,
       abusive billing practices and improper financial relationships between health care
       companies and their referral sources. The Office of the Inspector General of HHS
       (“OIG”) has published compliance program guidance, including the Compliance
       Program Guidance for Clinical Laboratories in August of 1998, and advisory
       opinions. The Company has implemented a robust Compliance Program, which is
       overseen by our Board of Directors. Its objective is to ensure compliance with the
       myriad of international, federal and state laws, regulations and governmental
       guidance applicable to our business. Our program consists of the development and
       implementation of standards of conduct, training/education of employees,
       monitoring and auditing Company practices, investigation, and response to
       reported or detected compliance issues.

                                                ***

       Our operations are subject to strict laws prohibiting fraudulent billing and other
       abuse, and our failure to comply with such laws could result in substantial penalties.
       Of particular importance to our operations is ensuring compliance with federal and
       state laws prohibiting fraudulent billing and the retention of overpayments. In
       particular, if we fail to comply with federal and state documentation, coding and
       billing rules, we could be subject to liability under the federal False Claims Act,
       including civil penalties, loss of licenses and exclusion from the Medicare and
       Medicaid programs.

                                                ***

       Existing federal laws governing Medicare and Medicaid, as well as some other
       federal laws, also regulate certain aspects of the relationship between healthcare
       providers, including clinical laboratories, and their referral sources, including
       physicians, hospitals, and other laboratories. . . . Violation of these laws may result
       in criminal penalties, exclusion from participation in the Medicare, Medicaid, and
       other federal healthcare programs, repayment of all reimbursement received by us
       related to services tied to any impermissible referrals, and significant civil monetary
       penalties . . . We seek to structure our arrangements with physicians and other



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        clients to be in compliance with the federal AKS, Stark Law and similar state laws,
        and to keep up-to-date on developments concerning their application by various
        means . . .

        43.    On April 28, 2020, the Company held a conference call to discuss its first-quarter

2020 financial results (the “1Q20 Earnings Call”). During the 1Q20 Earnings Call, Defendant

McKenzie stated: “Prior to the impacts of COVID-19, we were once again seeing growth across

all testing modalities, with particular strength in next-generation sequencing and molecular

testing.”

        44.    On April 29, 2020, the Company filed its first-quarter 2020 Form 10-Q with the

SEC (“1Q20 Form 10-Q”), which contained nearly identical statements to those referenced above,

touting the Company’s testing capabilities and competitive strengths.

        45.    On May 28, 2020, the Company held its Annual Shareholders Meeting. During the

meeting, Defendant VanOort stated: “we compete . . . by being a one-stop shop. So for an

oncology practice or for a hospital system, they can use NeoGenomics to do all of their testing,

not just next-generation sequencing, but also immunohistochemistry testing, fish testing, flow

cytometry and everything else.”

        46.    On July 28, 2020, the Company held a conference call to discuss the Company’s

second-quarter 2020 financial results (“2Q20 Earnings Call”). During the 2Q20 Earnings Call,

Defendant VanOort stated: “We now have a full suite of liquid biopsy tests, which further

strengthens our next-generation sequencing product portfolio and solidifies our comprehensive

oncology test menu.”

        47.    On July 31, 2020, the Company filed its second-quarter 2020 Form 10-Q with the

SEC, which contained nearly identical statements to those referenced above, touting the

Company’s testing capabilities and competitive strengths.




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       48.    On September 14, 2020, the Company participated in the Morgan Stanley Global

Healthcare Conference. During the conference, Defendant VanOort stated, “we are a one-stop

shop for clients, physicians, pathologists, hospitals and pharmaceutical companies. We use every

kind of testing modality that you can use for cancer, including some of the fast-growing new ones,

like next-generation sequencing, but we do everything. So we’re a one-stop shop.”

       49.    On October 27, 2020, the Company held a conference call to discuss the Company’s

third-quarter 2020 financial results (“3Q20 Earnings Call”). During the 3Q20 Earnings Call,

Defendant McKenzie stated: “gross margins improved approximately 1,100 basis points

sequentially to 43%, reflecting a strong recovery in both clinical and pharma revenues on largely

fixed COGS infrastructure.”

       50.    On October 29, 2020, the Company filed its third-quarter 2020 Form 10-Q with the

SEC, which contained nearly identical statements to those referenced above, touting the

Company’s testing capabilities and competitive strengths.

       51.    On January 11, 2021, the Company participated in the JPMorgan Healthcare

Conference. During the conference, Defendant VanOort stated:

       NGS is a technology that allows us to interrogate a number of genes all
       simultaneously. And there are a lot of different applications for next-generation
       sequencing. There are small panels and large panels and targeted panels, DNA
       panels and RNA panels and some with both DNA and RNA. We can use
       nextgeneration sequencing for tissue samples or for circulating tumor samples, also
       referred to as liquid biopsy, and more. And consistent with NeoGenomics’
       comprehensive approach to our test menu, we also offer a wide variety of and range
       of next-generation sequencing tests. And this is one of the things that differentiates
       NeoGenomics. And we believe that we have a very high quality capability to meet
       the needs of nearly any client . . .

       52.    On February 24, 2021, the Company held a conference call to discuss its fourth

quarter and full year 2020 financial results (“4Q20 Earnings Call”). During the 4Q20 Earnings

Call, Defendant McKenzie stated: “gross margins improved approximately 250 basis points



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sequentially in the fourth quarter to 45.6%, reflecting a continued recovery in both Clinical and

Pharma revenues on a largely fixed cost COGS infrastructure.”

        53.    On February 25, 2021, the Company filed its annual report for 2020 on Form 10- K

with the SEC (“2020 Form 10-K”). The 2020 Form 10-K contained nearly identical statements to

those referenced above, touting the Company’s testing capabilities and competitive strengths. The

2020 Form 10-K also contained substantially the same statements identified above, touting the

Company’s efforts to comply with relevant regulations and merely listing failure to comply with

such regulations as a risk, without discussing the ongoing violations.

        54.    On May 27, 2021, the Company held its Annual Shareholders Meeting. During the

meeting, Defendant Mallon informed investors: “Another core strength is the breadth of our Test

Menu. We cover all of the key modalities in cancer testing. As I mentioned, over 700 tests and

this includes the fastest growing, which is the molecular test, where we bring – have a unique

position, where we actually try to customize the types of molecular tests, the panels, the number

of mutations to be tested and not just molecular, but also adding in the necessary additional

modalities to really get the most precise, customized, cost-effective solution for a particular cancer

or a particular patient.”

        55.    On June 9, 2021, the Company participated in the Goldman Sachs Global

Healthcare Conference. During Defendant VanOort’s prepared remarks, he stated: “we have the

most comprehensive test menu that anyone has for oncology out there” and “[o]ne of the things

that is quite unique and a competitive advantage is we are a go-to reference lab with a

comprehensive menu for just about any kind of tests that you want to have done in cancer. . . .

And so we have been a go-to one-stop shop reference lab for a lot of players in the ecosystem, and

we keep our test menu very advanced. And it’s a real advantage for us.” Later during the




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conference, Defendant VanOort stated: “next-generation sequencing has a lot of different kinds of

– it’s not just one flavor. I mean you can do next-generation sequencing for solid tumors. You can

do it for hematologic cancers. You can do it for targeted profiles, large profiles, DNA, RNA, it’s

all kinds of stuff, various aspects. You can also do now liquid biopsy next-generation sequencing.

And effectively, we do it all.”

          56.    On August 6, 2021, the Company held a conference call to discuss its second quarter

2021 financial results (“2Q21 Earnings Call”). On the 2Q21 Earnings Call, Defendant Mallon

stated:

          I’ve been very impressed by several strengths of Neo in my first 100 days on the
          job. First, it’s just how comprehensive our oncology platform at NeoGenomics
          truly is. As I have dug in, I see how our broad portfolio of services provides a value
          proposition to all the constituents of the oncology ecosystem, providers, . . . payers
          and of course, patients. Our portfolio of multi-modality solutions is comprised of
          hundreds of assays that provide time-sensitive biomarker-specific answers for
          oncologists, pathologists, research scientists and pharma trial teams. Our
          customized targeted panels allow us to provide the right information at the right
          time for providers to patients at the right price for our direct bill and third-party
          payers. And that broad-based menu that differentiates [us] in clinical is also great
          value to our biopharma customers and is a real driver of growth for us.

          57.    Also, on the 2Q21 Earnings Call, Defendant McKenzie stated: “our gross margins

improved to 44.1% in quarter 2, driven by efficiencies on increased volume in clinical and higher

revenue in our Pharma Services division. More consistent sample volumes allow for more

predictable staffing levels, and we were able to see more normalized leverage on our largely fixed

cost COGS infrastructure.”

          58.    On August 9, 2021, the Company filed its second-quarter 2021 Form 10-Q with the

SEC, which contained nearly identical statements to those referenced above, touting the

Company’s testing capabilities and competitive strengths.

          59.    On November 4, 2021, the Company held a conference call to discuss its third




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quarter 2021 financial results (“3Q21 Earnings Call”). During the 3Q21 Earnings Call, Defendant

Mallon stated:

       We often hear NeoGenomics referred to as a fast follower. In fact, we have often
       used that term to describe our strategy for adopting new technologies. We’ve been
       able to execute this fast follower strategy because we have the scientific and
       medical know-how to quickly develop and launch new and often improved lab-
       developed tests, and because we have a trusted relationship with thousands of
       physicians who are already ordering a significant portion of their cancer testing
       from us.

       60.       On November 4, 2021, the Company filed its third-quarter 2021 Form 10-Q with

the SEC (“3Q21 10-Q”), which contained nearly identical statements to those referenced above,

touting the Company’s testing capabilities and competitive strengths.

       61.       On February 23, 2022, the Company held a conference call to discuss its fourth-

quarter and full-year 2021 financial results (“4Q21 Earnings Call”). During the 4Q21 Earnings

Call, Defendant Mallon stated: “We’ve continued to strengthen our leadership position in the

market through our comprehensive menu of tests focused only on cancer, our exceptional service

levels, our managed care and hospital relationships and our overall partnership approach. These

critical differentiating factors support new growth and drive high levels of customer retention.”

       62.       On the 4Q21 Earnings Call, an analyst asked how the Company planned to improve

its gross margins. In response, Defendant Bonello stated: “A big part of it will be leverage of the

existing fixed cost structure as revenue rebounds, and we emerge out of the COVID environment.

And as we have a larger sales force that is hopefully generating revenue across that fixed COGS

structure as well.”

       63.       On February 25, 2022, the Company filed its annual report for 2021 on Form 10- K

with the SEC (“2021 Form 10-K”). The 2021 Form 10-K contained nearly identical statements to

those referenced above, touting the Company’s testing capabilities and competitive strengths.




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         64.   On March 7, 2022, the Company participated in a Raymond James Institutional

Investors Conference. During the conference, Defendant Bonello stated: “We believe that the

underlying market that we serve is – grows at maybe a 6% to 8% rate. And from a volume

standpoint, we’ve grown about twice that fast, obviously through taking market share, combination

of getting more testing from our existing clients as well as continuously adding new clients.” Later

on the call, Defendant Bonello also stated: “Our molecular testing has fallen down in the low single

digits range of growth, and part of that is because people are ordering panels. Still ordering from

us, but ordering the panels instead of ordering the single-gene PCR test.”

         65.   The statements referenced above were false and misleading because: (i) the

Company was not a “one-stop shop” for cancer testing because it did not offer the most

technologically advanced NGS tests, which led to a significant decrease in revenue as current and

prospective customers went elsewhere for their testing needs; (ii) the Company’s costs were not

fixed because the Company needed to hire additional employees to process more complex

customized testing demanded by customers utilizing the Company’s outdated portfolio of tests,

leading to operational challenges, decreased lab efficiency, and increased testing turnaround times;

and (iii) the Company violated federal healthcare laws and regulations related to fraud, waste, and

abuse.

         66.   On November 4, 2021, during the Company’s 3Q21 Earnings Call, Defendant

McKenzie revealed that: “We are voluntarily conducting an internal investigation with the

assistance of outside counsel that focuses on the compliance of certain consulting and service

agreements with federal healthcare laws and regulations.” Defendant McKenzie added that,

“[b]ased on preliminary findings of this internal investigation, we voluntarily notified the Office

of the Inspector General of the U.S. Department of Health and Human Services of our investigation




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in November 2021. Though our review of this matter is ongoing, we have accrued a reserve of

$10.5 million for potential damage and liabilities associated with the federal healthcare program

revenue received spanning multiple years in connection with the agreements at issue that were

identified during the course of this internal investigation.”

       67.     On this news, the price of the Company’s common stock fell $8.18 per share, or

17.6%, from $46.53 per share on November 3, 2021 to $38.35 per share at the close of trading on

November 4, 2021.

       68.     The Company’s 3Q21 Form 10-Q, which the Company filed with the SEC after the

close of trading on November 4, 2021, provided a more fulsome disclosure regarding the internal

investigation and referral to the Department of Health and Human Services:

       With the assistance of outside counsel, the Company is voluntarily conducting an
       internal investigation that focuses on the compliance of certain consulting and
       service agreements with federal healthcare laws and regulations, including those
       relating to fraud, waste and abuse. Based on this internal investigation, the
       Company voluntarily notified the Office of Inspector General of the U.S.
       Department of Health and Human Services (‘OIG’) of the Company’s internal
       investigation in November 2021. The Company’s review of this matter is ongoing.
       As of September 30, 2021, the Company has accrued a reserve of $10.5 million in
       other long-term liabilities on the Consolidated Balance Sheets for potential
       damages and liabilities primarily associated with the federal healthcare program
       revenue received by the Company in connection with the agreements at issue that
       were identified during the course of this internal investigation. This reserve reflects
       management’s best estimate of the minimum probable loss associated with this
       matter. As a result of the ongoing investigation and interactions with regulatory
       authorities, the Company may accrue additional reserves for any related potential
       damages and liabilities arising out of this matter.

       69.     On March 28, 2022, the Company filed a Current Report on Form 8-K with the SEC

(“March 28, 2022 Form 8-K”), disclosing that “the Board of Directors and Mark Mallon, Chief

Executive Officer, have agreed that Mr. Mallon will step down as CEO and member of the Board,

effective immediately.” Also in the March 28, 2022 8-K, the Company disclosed that: “The

Company currently expects revenue for Q1 2022 may be below the low end of its prior guidance



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of $118 - $120 million and EBITDA for Q1 2022 will be below the low end of its prior guidance

of $(15) - $(12) million. The larger than anticipated EBITDA loss was primarily driven by higher

than anticipated Clinical Services cost of goods sold. The Company intends to take immediate

action to address performance and costs . . . Additionally, the Company has withdrawn its 2022

annual financial guidance issued February 23, 2022.” On this news, the price of the Company’s

common stock fell $5.30 per share, or 29.8%, from $17.79 per share on March 28, 2022 to $12.49

per share at the close of trading on March 29, 2022.

       70.    Before the start of trading on April 27, 2022, the Company filed a Current Report

on Form 8-K with the SEC disclosing the Company’s first-quarter 2022 financial results (the

“April 27, 2022 Form 8-K”). In the April 27, 2022 Form 8-K, the Company revealed that revenue

for the quarter was $117 million and EBITDA loss was $19 million. In the April 27, 2022 Form

8-K, the Company further revealed that: “Consolidated gross profit for the first quarter of 2022”

had “decrease[d] 8.0% compared to the first quarter of 2021” in part due to “higher payroll and

payroll-related costs.” The Company also revealed that: “Operating expenses increased by $34

million, or 59%, compared to the first quarter of 2021” driven, in part, by “higher payroll and

payroll-related costs to support the Company’s strategic growth initiatives.”

       71.    Also, on April 27, 2022, the Company held its 1Q22 Earnings Call. During the call,

the Company discussed the factors underlying the Company’s poor performance and the actions it

was taking to improve performance and return to profitable growth.

       72.    Defendant Bonello stated: “Our volume growth is being impacted by a couple of

factors. First, our test mix is weighted to legacy modalities and disease-specific NGS offerings,

while the market is moving towards larger, more comprehensive panels. Second, operational

challenges have made it difficult to add new business at our historical rates. We are taking a




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number of steps to upgrade our NGS product offering and improve our lab operations.” Bonello

further stated, “we are seeing some increased competition on the NGS front as panels move or as

customers move to demanding larger, more comprehensive NGS-only panels, and our offering is

more oriented towards smaller targeted panels.”

       73.     Also on the call, Defendant Bonello stated: “we’ve seen a notable decrease in lab

efficiency over the course of the past year. This decrease is largely attributable to increased

complexity of both our product offerings and our lab processes, due in part to efforts to respond to

customer requests for customization. We are already taking action to reduce this complexity.

These actions include eliminating low-margin services, streamlining our NGS processes to drive

reductions in labor, supplies and bioinformatics costs, while simultaneously improving turnaround

time and implementing AI to increase lab tech productivity.”

       74.     Summarizing, Defendant Bonello further stated: “We view 2022 as a rebuilding

year, where our primary focus is to improve our current product offering, drive operational

efficiency, . . . and lay a foundation to support sustainable, profitable growth in 2023 and beyond.”

       75.     On this news, the price of the Company’s common stock fell $0.41 per share, or

3.8%, from $10.85 per share on April 26, 2022 to $10.44 per share at the close of trading on April

27, 2022.

       76.     Finally, on May 12, 2022, the Company participated in the Bank of America

Healthcare Conference. During the conference, Defendant Bonello revealed that “over the past

couple of years, we’ve seen perhaps a more pronounced transition to adoption of larger complete

genomic profile NGS panels, then maybe the pace we had anticipated.” Also, during the

conference, he added: “We’re in the process of developing our own NGS only [test] rather than

multimodality panels that are also complete genomic profiling and sort of more on par with what




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are in some of the competitive panels as well as improving our turnaround times.”

                               DAMAGES TO THE COMPANY

        77.     As a direct and proximate result of Defendants’ conduct, the Company will lose and

expend many millions of dollars.

        78.     Such expenditures include, but are not limited to, legal fees and payments

associated with the numerous lawsuits and other actions lodged against the Company as a result

of the misconduct discussed herein.

        79.     In addition, these losses include, but are not limited to, lavish compensation and

benefits paid to Defendants who breached their fiduciary duties to the Company.

        80.     As a direct and proximate result of Defendants’ conduct, the Company has also

suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s discount” that

will plague the Company’s stock in the future due to the Company’s and their misrepresentations

and Defendants’ breaches of fiduciary duties and unjust enrichment.

                            DEMAND REFUSAL ALLEGATIONS

        81.     Plaintiffs bring this action derivatively in the right and for the benefit of the

Company to redress injuries suffered and to be suffered as a direct and proximate result of

Defendants’ violations of their breaches of fiduciary duties and other wrongful conduct as alleged

herein and that occurred during the Relevant Period.

        82.     Plaintiffs will adequately and fairly represent the interests of NeoGenomics in

enforcing and prosecuting its rights and have retained counsel competent and experienced in

derivative litigation.

        83.     Plaintiffs are current owners of the Company stock and have been owners of

Company stock during the Relevant Period. Plaintiffs understand their obligation to hold stock




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throughout the duration of this action and are prepared to do so.

        84.    On May 8, 2023, Plaintiffs made a demand (the “Demand”) on the Board of

Directors (the “Board”) to commence a civil action against each responsible entity and affiliate of

the Company – naming each of the Individual Defendants – to recover, for the benefit of the

Company, the damage caused to it. Attached hereto as Exhibit A, respectively, is a true and

correct copy of the Demand.

        85.    Following this, on May 26, 2023, counsel for the Board assured Plaintiffs that a

response would be “forthcoming in the near term.” Attached hereto as Exhibit B is a true and

correct copy of counsel for the Board’s response.

        86.    However, to date, no such response has been received. Accordingly, Plaintiffs’

counsel sent several follow-up communications to counsel for the Board and are yet to receive any

substantive response to the Demand. Thus, the Board’s inaction here constitutes a refusal of

Plaintiffs’ Demand.

        87.    The Board here has unreasonably refused to consider Plaintiffs Demand or institute

any litigation. Such refusal will irreparably prejudice the Company and its claims. The wrongs

complained of in the Demand remain uncorrected and the Company will suffer additional damage

as a result.

        88.    In addition, the Board’s refusal to initiate any litigation could subject the

Company’s claims to the applicable statute of limitations period, leaving the Company without

remedy. Accordingly, these actions cannot be reasonably interpreted as being in the best interests

of the Company.

        89.    As such, the Board’s response here is an unreasonable and wrongful refusal of

Plaintiff’s Demand to initiate a civil action for the benefit of the Company. The Company has




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suffered damage and will continue to suffer damage if the wrongs complained of herein remain

uncorrected. Thus, Plaintiffs have satisfied the demand requirements and may pursue this

derivative action to procure a judgment in NeoGenomics favor.

                                               COUNT I

               (Against the Director Defendants for Breach of Fiduciary Duty)

       90.     Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth herein.

       91.     The Director Defendants owed the Company fiduciary obligations. By reason of

their fiduciary relationships, the Director Defendants owed the Company the highest obligation of

good faith, fair dealing, loyalty, and due care.

       92.     The Director Defendants violated and breached their fiduciary duties of care,

loyalty, reasonable inquiry, and good faith.

       93.     The Director Defendants engaged in a sustained and systematic failure to properly

exercise their fiduciary duties. Among other things, the Director Defendants breached their

fiduciary duties of loyalty and good faith. These actions could not have been a good faith exercise

of prudent business judgment to protect and promote the Company’s corporate interests.

       94.     As a direct and proximate result of the Director Defendants’ failure to perform their

fiduciary obligations, the Company has sustained significant damages.          As a result of the

misconduct alleged herein, the Director Defendants are liable to the Company.

       95.     As a direct and proximate result of the Director Defendants’ breach of their

fiduciary duties, the Company has suffered damage, not only monetarily, but also to its corporate

image and goodwill. Such damage includes, among other things, costs associated with defending

and/or settling securities lawsuits and governmental investigations, severe damage to the share




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price of the Company’s stock, resulting in an increased cost of capital, and reputational harm.

                                              COUNT II

               (Against the Director Defendants for Waste of Corporate Assets)

        96.    Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth herein.

        97.    The wrongful conduct alleged regarding the issuance of false and misleading

statements was continuous, connected, and on-going throughout the Relevant Period. It resulted

in continuous, connected, and ongoing harm to the Company.

        98.    As a result of the misconduct described above, the Director Defendants wasted

corporate assets by, inter alia: (a) paying excessive compensation, bonuses, and termination

payments to certain of its executive officers; (b) awarding self-interested stock options to certain

officers and directors; and (c) incurring potentially millions of dollars of legal liability and/or legal

costs to defend and/or settle actions addressing Defendants’ unlawful action.

        99.    As a result of the waste of corporate assets, the Director Defendants are liable to the

Company.

        100.   Plaintiffs, on behalf of the Company, have no adequate remedy at law.

                                             COUNT III

                 Against the Individual Defendants for Violations of § 10(b)
        of the Exchange Act, 15 U.S.C. § 78(j), and Rule 10b-5, 17 C.F.R. § 240.10b-5

        101.   Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

        102.   The Individual Defendants violated Section 10(b) of the Exchange Act, 15 U.S.C.

§ 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        103.   The Individual Defendants, individually and in concert, directly or indirectly,



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disseminated or approved the materially false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

        104.   The Individual Defendants violated Section 10(b) of the Exchange Act and Rule

10b-5 in that they: (i) employed devices, schemes, and artifices to defraud; (ii) made untrue

statements of material facts or omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading; or

(iii) engaged in acts, practices, and a course of business that operated as a fraud or deceit upon

Plaintiffs and others similarly situated.

        105.   The Individual Defendants acted with scienter because they: (i) knew that the public

documents and statements issued or disseminated in the name of the Company were materially

false and misleading; (ii) knew that such statements or documents would be issued or disseminated

to the investing public; and (iii) knowingly and substantially participated or acquiesced in the

issuance or dissemination of such statements or documents as primary violations of the securities

laws.

        106.   The Individual Defendants, by virtue of their receipt of information reflecting the

true facts of the Company, their control over, and/or receipt and/or modification of the Company’s

allegedly materially misleading statements, and/or their associations with the Company which

made them privy to confidential proprietary information concerning the Company, participated in

the fraudulent scheme alleged herein.

        107.   As a result of the foregoing, the market price of the Company’s common stock was

artificially inflated during the Relevant Period. In ignorance of the falsity of the statements,




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stockholders relied on the statements described above and/or the integrity of the market price of

the Company’s common stock in purchasing the Company common stock at prices that were

artificially inflated as a result of these false and misleading statements and were damaged thereby.

       108.    In addition, as a result of the wrongful conduct alleged herein, the Company has

suffered significant damages, including the costs and expenses incurred in defending itself in the

Securities Action and reputational harm. The Individual Defendants, through their violation of

Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5, have exposed the Company

to millions of dollars in potential class-wide damages in the Securities Class Action.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

       (A)     Declaring that Plaintiffs may maintain this action on behalf of the Company and

that Plaintiffs are adequate representatives of the Company;

       (B)     Finding Defendants liable for breaching their fiduciary duties owed to the

Company;

       (C)     Directing Defendants to take all necessary actions to reform and improve the

Company’s corporate governance, risk management, and internal operating procedures to comply

with applicable laws and to protect the Company and its stockholders from a repeat of the rampant

wrongful conduct described herein;

       (D)     Awarding damages to the Company for the harm the Company suffered as a result

of the Defendants’ wrongful conduct;

       (E)     Awarding Plaintiffs the costs and disbursements of this action, including attorneys’,

accountants’, and experts’ fees; and

       (F)     Awarding such other and further relief as is just and equitable.




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                                 JURY TRIAL DEMANDED

      Plaintiffs hereby demand a trial by jury on all issues so triable.

Dated: November 27, 2023

                                            GAINEY McKENNA & EGLESTON

                                            By: /s/ Gregory M. Egleston
                                                Gregory M. Egleston
                                            Thomas J. McKenna
                                            501 Fifth Avenue, 19th Fl.
                                            New York, NY 10017
                                            Telephone: (212) 983-1300
                                            Facsimile: (212) 983-0383
                                            Email: gegleston@gme-law.com
                                            Email: tjmckenna@gme-law.com

                                            Attorneys for Plaintiffs




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  EXHIBIT A
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                               GAINEY McKENNA & EGLESTON
                                     _______________
                                             ATTORNEYS AT LAW
       501 FIFTH AVENUE                                                               375 ABBOTT ROAD
          19th FLOOR                           www.gme-law.com                    PARAMUS, NEW JERSEY 07652
   NEW YORK, NEW YORK 10017                                                           TEL: (201) 225-9001
       TEL: (212) 983-1300                                                            FAX: (201) 225-9002
       FAX: (212) 983-0383


Please Reply To The New York Address


                                                 May 8, 2023




      Via U.S. Mail – First Class

      Mr. Christopher M. Smith
      Director and Chief Executive Officer
      NeoGenomics, Inc.
      9490 NeoGenomics Way
      Fort Myers, FL 33912

               Re:     Demand to Sue – NeoGenomics, Inc.

      Dear Mr. Smith:

             We represent Marino Kain, Wayne Kerris and Perry Russell, who own NeoGenomics, Inc.
      (“NeoGenomics” or the “Company”) securities. We hereby demand that the Company’s Board
      of Directors (the “Board”) take action against certain current and/or former officers and directors
      of the Company, including, Lynn Tetrault, Dr. Alison Hannah, Bruce Crowther, Michael Kelly,
      Stephen Kanovsky, Michael Kelly, David Perez, Rachel Stahler, Douglas VanOort, Mark Mallon,
      Kathryn McKenzie, and William Bonello and other individuals and entities that engaged in the
      wrongdoing as set forth below.

      Background

              As you are aware, the Company provides cancer tests and testing services to doctors,
      clinics, hospitals, and pharmaceutical companies. Among the Company’s portfolio of tests are
      next generation sequencing (“NGS”) tests.

              Throughout the relevant period (February 27, 2020 and April 26, 2022), the officers and
      directors of the Company caused the Company to allegedly misrepresent to the market that it had
      a “comprehensive menu” of cancer tests that positioned it as a “one-stop-shop” for pathologists
      that needed cancer testing. Moreover, the officers and directors of the Company caused the
      Company to state that it had “every kind of testing modality that you can use for cancer, including
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some of the fast-growing new ones, like next-generation sequencing,” and had “a competitive
advantage” as a “go-to reference lab with a comprehensive menu for just about any kind of tests
that you want to have done in cancer [] and we keep our test menu very advanced.” Further, the
officers and directors of the Company caused the Company to assert that it could “leverage” the
supposedly “fixed cost” structure of its business to improve profitability as revenue increased and
also repeatedly touted its “robust Compliance Program . . . overseen by our Board of Directors . .
. to ensure compliance with the myriad of . . . laws, regulations and governmental guidance
applicable to our business,” merely listing failure to comply among the many hypothetical risks
that could impact the Company’s results.

        These statements were allegedly false and misleading. In truth: (i) the Company was
anything but a “one-stop-shop” for cancer testing because it did not offer the most technologically
advanced NGS tests, which led to a significant decrease in revenue as current and prospective
customers went elsewhere for their testing needs; (ii) the Company’s costs were not fixed because
it needed to hire additional employees to process more complex customized testing demanded by
customers utilizing the Company’s outdated portfolio of tests, leading to operational challenges,
decreased lab efficiency, and increased testing turnaround times; and (iii) the Company violated
federal healthcare laws and regulations related to fraud, waste, and abuse.

        On November 4, 2021, the Company revealed that it was “conducting an internal
investigation with the assistance of outside counsel that focuses on the compliance of certain
consulting and service agreements with federal healthcare laws and regulations” and had recently
“notified the Office of the Inspector General of the U.S. Department of Health and Human Services
of our investigation.” Additionally, the Company disclosed that it “accrued a reserve of $10.5
million for potential damage and liabilities associated with the federal healthcare program revenue
received spanning multiple years.” 1 On this news, the price of the Company common stock fell

1
         “With the assistance of outside counsel, the Company voluntarily conducted an internal
investigation that focused on the compliance of certain consulting and service agreements with federal
healthcare laws and regulations, including those relating to fraud, waste and abuse. Based on this internal
investigation, the Company voluntarily notified the Office of Inspector General of the U.S. Department of
Health and Human Services (“OIG”) of the Company’s internal investigation in November 2021. The
Company’s interactions with regulatory authorities and the Company’s related review of this matter are
ongoing. The Company has a reserve of $11.2 million in other long-term liabilities as of December 31,
2022 and 2021 on the Consolidated Balance Sheets for potential damages and liabilities primarily
associated with the federal healthcare program revenue received by the Company in connection with the
agreements at issue that were identified during the course of this internal investigation. This reserve
reflects management’s best estimate of the minimum probable loss associated with this matter. As a result
of the internal investigation and ongoing interactions with regulatory authorities, the Company may accrue
additional reserves for any related potential damages and liabilities arising out of this matter. The Company
was notified on June 30, 2022 that the Department of Justice (“DOJ”) will be participating in the
investigation of this matter. At this time, the Company is unable to predict the duration, scope, result or
related costs associated with any further investigation, including by the OIG, DOJ, or any other
governmental authority, or what penalties or remedial actions they may seek. Accordingly, at this time, the
Company is unable to estimate a range of possible loss in excess of the amount reserved. Any determination
that the Company’s operations or activities are not in compliance with existing laws or regulations, however,
could result in the imposition of civil or criminal fines, penalties, disgorgement, restitution, equitable relief,
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May 8, 2023
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$8.18 per share, or 17.6%, from $46.53 per share on November 3, 2021 to $38.35 per share at the
close of trading on November 4, 2021.

        After the close of trading on November 4, 2021, the Company provided some limited
additional details about the internal investigation, specifically that the “federal healthcare laws and
regulations” at the center of the Company’s investigation “include those relating to fraud, waste
and abuse.”

        On March 28, 2022, the Company disclosed that “the Board of Directors and Mark Mallon,
Chief Executive Officer, have agreed that Mr. Mallon will step down as CEO and member of the
Board, effective immediately.” At the same time, the Company disclosed that it “currently
expects revenue for Q1 2022 may be below the low end of its prior guidance of $118 - $120 million
and EBITDA for Q1 2022 will be below the low end of its prior guidance of $(15) - $(12) million.
The larger than anticipated EBITDA loss was primarily driven by higher than anticipated Clinical
Services cost of goods sold. The Company intends to take immediate action to address
performance and costs . . . Additionally, the Company has withdrawn its 2022 annual financial
guidance issued February 23, 2022.” On this news, the price of the Company common stock fell
$5.30 per share, or 29.8%, from $17.79 per share on March 28, 2022 to $12.49 per share at the
close of trading on March 29, 2022.

         Then, on April 27, 2022, the Company reported its first-quarter 2022 financial results
including that revenue for the quarter was $117 million and EBITDA loss was $19 million, that
“[c]onsolidated gross profit for the first quarter of 2022” had “decrease[d] 8.0% compared to the
first quarter of 2021,” and that “[o]perating expenses increased by $34 million, or 59%, compared
to the first quarter of 2021.” The Company explained that “higher payroll and payroll related costs
to support the Company’s strategic growth initiatives” drove the decreased profit and increased
operating expenses.

        Also, on April 27, 2022, the Company held a conference call to discuss its first quarter
2022 results (the “1Q22 Earnings Call”). During the 1Q22 Earnings Call, the Company attributed
its poor performance in substantial part to the fact that: “our test mix is weighted to legacy
modalities and disease-specific NGS offerings, while the market is moving towards larger, more
comprehensive panels” and “we’ve seen a notable decrease in lab efficiency over the course of the
past year . . . largely attributable to increased complexity of both our product offerings and our lab
processes, due in part to efforts to respond to customer requests for customization.” The
Company further disclosed that it was “seeing increased competition on the NGS front as panels
move or as customers move to demanding larger, more comprehensive NGS-only panels, and our
offering is more oriented towards smaller targeted panels” and that the Company was “seeing
bigger and bigger panels coming from some of these emerging companies . . . where we have not
kept up.” On this news, the price of the Company common stock fell $0.41 per share, or 3.8%,
from $10.85 per share on April 26, 2022 to $10.44 per share at the close of trading on April 27,
2022.

exclusion from participation in federal healthcare programs or other losses or conduct restrictions, which
could be material to the Company’s financial results or business operations.” See Company’s Form 10-K,
filed Feb. 24, 2023 (Emphasis added).
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     On December 6, 2022, a securities class action was filed entitled Goldenberg v.
NeoGenomics, Inc., et al., Case No. 1:22-cv-10314 (S.D.N.Y.).

                                    ACTION DEMANDED

        Our clients demand that the Board commence a civil action against each responsible
individual and entity and each responsible affiliate of the Company, including, Lynn Tetrault, Dr.
Alison Hannah, Bruce Crowther, Michael Kelly, Stephen Kanovsky, Michael Kelly, David Perez,
Rachel Stahler, Douglas VanOort, Mark Mallon, Kathryn McKenzie, and William Bonello and
other individuals and entities that engaged in the wrongdoing, to recover for the benefit of the
Company. The Company must recover from the aforementioned individuals the amount of
damages sustained by the Company as a result of their breaches of fiduciary duties, and the amount
of damages sustained by the Company as a result of their aforementioned individuals’ breaches of
fiduciary duties.

       Please confirm receipt of this letter and the measures that you plan to take to address the
harm inflicted upon the Company as a result of the conduct described herein. If you have any
questions, please do not hesitate to contact the undersigned counsel. We are willing to assist the
Board as it conducts the investigation and will review and comment upon all reports and
information generated in the course of its work.

                                        Very truly yours,

                            GAINEY McKENNA & EGLESTON

                                      Gregory M. Egleston

                                      Gregory M. Egleston


cc:    Thomas J. McKenna, Esq. (By email)
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  EXHIBIT B
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Greg Egleston

From:                             Colleen.Smith@lw.com
Sent:                             Sunday, November 5, 2023 5:35 PM
To:                               Greg Egleston
Cc:                               T.J. McKenna
Subject:                          RE: NeoGeonomics


The special committee is still evaluating the claims and awaiting the amended complaint in the securities case.

Colleen C. Smith

LATHAM & WATKINS LLP
12670 High Bluff Drive | San Diego, CA 92130
D: +1.858.523.3985

From: Greg Egleston <egleston@gme-law.com>
Sent: Thursday, October 26, 2023 12:48 PM
To: Smith, Colleen (SD) <Colleen.Smith@lw.com>
Cc: T.J. McKenna <TJMcKenna@gme-law.com>
Subject: RE: NeoGeonomics

Hi Colleen: Status please. Regards, Greg

Gregory M. Egleston
Gainey McKenna & Egleston
501 Fifth Avenue, 19th Floor
New York, New York 10017
Telephone: (212) 983-1300
Facsimile: (212) 983-0383
Email: gegleston@gme-law.com
Website: www.gme-law.com

From: Greg Egleston
Sent: Wednesday, October 18, 2023 10:44 AM
To: Colleen.Smith@lw.com
Cc: T.J. McKenna <TJMcKenna@gme-law.com>
Subject: RE: NeoGeonomics

Hi Colleen: Please let us know what has transpired. Regards, Greg

Gregory M. Egleston
Gainey McKenna & Egleston
501 Fifth Avenue, 19th Floor
New York, New York 10017
Telephone: (212) 983-1300
Facsimile: (212) 983-0383
Email: gegleston@gme-law.com
Website: www.gme-law.com



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From: Colleen.Smith@lw.com <Colleen.Smith@lw.com>
Sent: Sunday, October 1, 2023 3:20 AM
To: Greg Egleston <egleston@gme-law.com>
Cc: T.J. McKenna <TJMcKenna@gme-law.com>
Subject: RE: NeoGeonomics

Thanks for your patience here. Meeting has been rescheduled to October 3, after which I expect to have a response to
you.

Colleen C. Smith

LATHAM & WATKINS LLP
12670 High Bluff Drive | San Diego, CA 92130
D: +1.858.523.3985

From: Greg Egleston <egleston@gme-law.com>
Sent: Monday, September 25, 2023 10:07 AM
To: Smith, Colleen (SD) <Colleen.Smith@lw.com>
Cc: T.J. McKenna <TJMcKenna@gme-law.com>
Subject: RE: NeoGeonomics

Hi Colleen: Please provide us with a substantive response regarding our demand. Regards, Greg

Gregory M. Egleston
Gainey McKenna & Egleston
501 Fifth Avenue, 19th Floor
New York, New York 10017
Telephone: (212) 983-1300
Facsimile: (212) 983-0383
Email: gegleston@gme-law.com
Website: www.gme-law.com

From: Greg Egleston
Sent: Tuesday, September 12, 2023 10:46 AM
To: Colleen.Smith@lw.com
Cc: T.J. McKenna <TJMcKenna@gme-law.com>
Subject: RE: NeoGeonomics

Hi Colleen: Please let me know after you meet with the Board. Regards, Greg

Gregory M. Egleston
Gainey McKenna & Egleston
501 Fifth Avenue, 19th Floor
New York, New York 10017
Telephone: (212) 983-1300
Facsimile: (212) 983-0383
Email: gegleston@gme-law.com
Website: www.gme-law.com

From: Colleen.Smith@lw.com <Colleen.Smith@lw.com>
Sent: Tuesday, September 5, 2023 2:47 PM
To: Greg Egleston <egleston@gme-law.com>

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                 Case 1:23-cv-10337-JGLC Document 1 Filed 11/27/23 Page 39 of 39
Cc: T.J. McKenna <TJMcKenna@gme-law.com>
Subject: RE: NeoGeonomics

Hi Greg –

Received your note. I’m meeting with the board next week, and will respond immediately thereafter if that
works. Thanks.

Colleen C. Smith

LATHAM & WATKINS LLP
12670 High Bluff Drive | San Diego, CA 92130
D: +1.858.523.3985

From: Greg Egleston <egleston@gme-law.com>
Sent: Friday, September 01, 2023 11:44 AM
To: Smith, Colleen (SD) <Colleen.Smith@lw.com>
Cc: T.J. McKenna <TJMcKenna@gme-law.com>
Subject: NeoGeonomics

Colleen: Please let us have your response after the holiday weekend. Regards, Greg
_________________________________

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